Case 0:17-cv-60426-UU Document 384 Entered on FLSD Docket 12/18/2018 Page 1 of 8



                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                          Case No. 1:17-cv-60426-UU

  ALEKSEJ GUBAREV, et al.,

          Plaintiffs,

  v.

  BUZZFEED, INC., et al.,

        Defendants.
  ____________________________________/

       [CORRECTED AS TO DATE ONLY] ORDER REGARDING PROCEDURE FOR
       NOTIFYING IDENTIFIED NON-PARTIES ABOUT POTENTIAL UNSEALING

          THIS CAUSE comes before the Court sua sponte.

          THE COURT has considered the pertinent portions of the record and is otherwise fully

  advised in the premises.

          The Court is considering unsealing all materials filed in this case except for: (1)

  discovery materials (including but not limited to deposition testimony and responses to

  subpoenas) designated by non-parties as confidential (rather than designated by the parties) and

  (2) confidential commercial information that amounts to a trade secret. 1

          To facilitate the unsealing process and insure the fair administration of justice, and

  pursuant to the Court’s Order dated November 20, 2018 (D.E. 327) (the “Order”), the Court

  hereby ORDERS AND ADJUDGES the following procedure for the parties to provide notice to

  non-parties:


  1
    The parties are forewarned that the Court is inclined to unseal expert reports and expert testimony, and anything
  relied upon in an expert report or in expert testimony, as well as non-expert materials speaking to damages, because
  the Court doubts that such information may fairly be considered so sensitive as to outweigh the interest in
  “promot[ing] public understanding of significant public events, including what a court does and how a court goes
  about adjudicating cases.” F.T.C. v. AbbVie Prods. LLC, 713 F.3d 54, 70-71 (11th Cir. 2013).

                                                           1
Case 0:17-cv-60426-UU Document 384 Entered on FLSD Docket 12/18/2018 Page 2 of 8



        1. On or before Friday, December 21, 2018, the parties SHALL file, under seal, all

           Acknowledgment Pages (Exhibit A to the parties’ blanket protective order) executed

           by any non-party.

        2. On or before Friday, December 28, 2018, the parties SHALL file, under seal, a list

           of all discovery materials that have been designated by a non-party as confidential.

        3. On or before Friday, December 28, 2018, the parties SHALL take the following

           steps to effectuate notice:

               a. Notice need only be provided to those non-parties who have designated

                  material as confidential pursuant to the blanket protective order.

               b. The notice should include, but need not be limited to, the information in the

                  template appended to this order (the “Notice”).

               c. As to each numbered entry in the parties’ sealed joint response to the Order

                  (D.E. 377, amended by D.E. 378) (the “Response”), the party who does not

                  consent to unsealing the document, information, and/or testimony designated

                  by a non-party as confidential shall be responsible for sending the Notice,

                  along with a copy of this order. If both parties consent, or if no parties

                  consent, to unsealing the document, information, and/or testimony designated

                  by a non-party as confidential, the parties jointly shall serve the Notice and

                  this order.

               d. The Notice directed to a non-party shall list all of the documents, testimony,

                  and/or information which that non-party has designated as confidential and

                  which was included in the Response, and shall also enclose courtesy copies

                  for the non-party. The courtesy copies may be redacted as appropriate to



                                                2
Case 0:17-cv-60426-UU Document 384 Entered on FLSD Docket 12/18/2018 Page 3 of 8



                   protect information pertaining to other non-parties. The Notice shall use a

                   numbering system that corresponds with the numbers in the far left column of

                   the Response. The Notice shall not identify other affected non-parties.

               e. The Notice shall be served, via certified mail, to each identified non-party at

                   their last known primary address and, if a corporate entity, to a registered

                   agent in the State of Florida (if one exists). Alternatively, if the non-party has

                   appeared through counsel in this matter, the Notice may be served via e-mail

                   to counsel, provided that counsel, in writing, waives mail service on his/her

                   client’s behalf. Any individual who has not appeared through counsel may

                   also waive, in writing, mail service.

               f. The parties shall file proof of service as soon as reasonably possible for each

                   non-party.

        4. No later than fourteen (14) days after the date of service, a non-party may file, under

           seal, a position statement, not to exceed ten (10) pages in length, as to (1) whether

           the non-party believes unsealing the material designated in the Notice would

           adversely impact the non-party, and (2) whether good cause exists to keep the

           material under seal, including, if good cause exists only to keep portions of the

           material under seal, which specific portions of the material should be redacted. Each

           non-party shall file only one (1) position statement, regardless of the volume of

           material designated in the Notice. No further briefing shall be permitted.

        5. For the avoidance of doubt, the non-party at issue in Magistrate Judge O’Sullivan’s

           Sealed Order dated February 23, 2018 (D.E. 144), and the non-party at issue in the

           Court’s Order dated September 10, 2018 (D.E. 203), shall be provided notice of the



                                                 3
Case 0:17-cv-60426-UU Document 384 Entered on FLSD Docket 12/18/2018 Page 4 of 8



          Court’s potential unsealing and shall have the opportunity to file a position statement

          as to why the material addressed in those orders should remain under seal.

                         [remainder of page intentionally left blank]




                                               4
Case 0:17-cv-60426-UU Document 384 Entered on FLSD Docket 12/18/2018 Page 5 of 8



                               SAMPLE NOTICE




                                       5
Case 0:17-cv-60426-UU Document 384 Entered on FLSD Docket 12/18/2018 Page 6 of 8



                       CONFIDENTIAL LETTER – DO NOT PUBLISH

  John Doe
  123 Main Street
  Anytown, USA

         Re: Gubarev v. Buzzfeed, Inc., No. 1:17-cv-60426-UU (S.D. Fla.)

  *TIME SENSITIVE* - POTENTIAL UNSEALING OF CONFIDENTIAL DOCUMENTS

  Mr. Doe:

  You are receiving this notice (the “Notice”) pursuant to the enclosed Order Regarding Procedure
  for Notifying Identified Non-Parties About Potential Unsealing (the “Order”) in the above-
  referenced case. Certain material has been filed under seal in this case, which material
  [Plaintiffs] [Defendants] [the parties] believe may adversely affect you as a non-party if the
  Court determines that the material should be unsealed (the “Material”). You have designated the
  Material as “Confidential” pursuant to the parties’ protective order (D.E. 41, amended by D.E.
  97). The Material is listed for you below and courtesy copies are enclosed, but may be redacted
  to protect information pertaining to other non-parties.

  Pursuant to the Order, within fourteen (14) days of the date you received this Notice, you may
  file, under seal, a position statement in the above-referenced case, not to exceed ten (10) pages
  in length, as to (1) whether you believe unsealing the Material would adversely impact you, and
  (2) whether good cause exists to keep the Material under seal, including, if good cause exists
  only to keep portions of the Material under seal, which specific portions of the Material should
  be redacted. You may file only one (1) position statement, regardless of the volume of Material.
  No further briefing will be permitted.

  This Notice constitutes warning that the Court in the above-referenced case may unseal
  information that you might consider to be “Confidential.” Action on your part is required.

                                          THE MATERIAL

  Parties’ ID    Brief Description         Plaintiffs’ Position on     Defendants’ Position on
  Number                                   Sealing/Unsealing           Sealing/Unsealing

  63             Portions of transcript    Consent to unsealing        Consent to unsealing
                 of deposition of John                                 except for lines ##-##
                 Doe

  88             Portions of transcript    Consent to unsealing        Consent to unsealing
                 of deposition of ABC
                 Co.


                                                  6
Case 0:17-cv-60426-UU Document 384 Entered on FLSD Docket 12/18/2018 Page 7 of 8



  This Notice shall be treated as Confidential pursuant to the parties’ protective order.
  Publication of this Notice may result in legal action.

  Please contact [me] [us] if you have any questions.

  Regards,




                                                  7
Case 0:17-cv-60426-UU Document 384 Entered on FLSD Docket 12/18/2018 Page 8 of 8



         DONE AND ORDERED in Chambers, Miami, Florida, this 18th day of December, 2018.



                                                 ________________________________
                                                 URSULA UNGARO
                                                 UNITED STATES DISTRICT JUDGE
  cc: counsel of record via cm/ecf




                                            8
